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                    EXHIBIT A
8/30/24, 2:17 PM            Case 3:24-cv-06487-MMC Document Case
                                                            1-1 Information
                                                                   Filed 09/16/24 Page 2 of 2
                                                                                                                                                 Contact Us




                                                                      Case Number: CGC24616892
                                                              Title: DON LEMON VS. ELON MUSK ET AL
                                                                        Cause of Action: FRAUD
                                                                        Generated: 2024-08-30 2:17 pm

                                   Register of Actions        Parties     Attorneys       Calendar      Payments     Documents
                                          Please Note: The "View" document links on this web page are valid until 2:27:14 pm
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                                                                              browser)



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        Date                             Proceedings                                        Document                                Fee


       2024-08-26                       NOTICE OF APPEARANCE OF ARI HOLTZBLATT ON          View
                                        BEHALF OF DEFENDANT X CORP. (TRANSACTION ID
                                        # 74153846) FILED BY DEFENDANT X CORP.

       2024-08-26                       JOINT STIPULATION EXTENDING X CORP.'S              View                                                      $435.00
                                        DEADLINE TO RESPOND TO COMPLAINT
                                        (TRANSACTION ID # 74153846) FILED BY
                                        DEFENDANT X CORP.

       2024-08-23                       SUMMONS ON COMPLAINT (TRANSACTION ID #             View
                                        74134319) (TRANSACTION ID # 74134319), PROOF
                                        OF SERVICE ONLY, FILED BY PLAINTIFF LEMON,
                                        DON SERVED AUG-21-2024, SUBSTITUTE SERVICE
                                        ON CORPORATION, MAILING DATE AUG-21-2024 AS
                                        TO DEFENDANT MUSK, ELON

       2024-08-06                       SUMMONS ON COMPLAINT (TRANSACTION ID #             View
                                        73965453), PROOF OF SERVICE ONLY, FILED BY
                                        PLAINTIFF LEMON, DON SERVED AUG-05-2024,
                                        PERSONAL SERVICE AS TO DEFENDANT X CORP.
                                        DOING BUSINESS IN CALIFORNIA AS, X CORP., A
                                        NEVADA CORPORATION

       2024-08-01                       SUMMONS ISSUED (TRANSACTION ID # 73877884)         View
                                        TO PLAINTIFF LEMON, DON

       2024-08-01                       NOTICE TO PLAINTIFF                                View

       2024-08-01                       CIVIL CASE COVERSHEET FILED (TRANSACTION ID        View
                                        # 73877884) FILED BY PLAINTIFF LEMON, DON

       2024-08-01                       FRAUD, COMPLAINT (TRANSACTION ID # 73877884)       View                                                      $435.00
                                        FILED BY PLAINTIFF LEMON, DON AS TO
                                        DEFENDANT MUSK, ELON X CORP. DOING
                                        BUSINESS IN CALIFORNIA AS, X CORP., A NEVADA
                                        CORPORATION DOES 1 TO 100, INCLUSIVE NO
                                        SUMMONS ISSUED, JUDICIAL COUNCIL CIVIL CASE
                                        COVER SHEET NOT FILED CASE MANAGEMENT
                                        CONFERENCE SCHEDULED FOR JAN-08-2025
                                        PROOF OF SERVICE DUE ON SEP-30-2024 CASE
                                        MANAGEMENT STATEMENT DUE ON DEC-16-2024


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